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                       Exhibit 3
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                                                                                                                             Exhibit 99.2

                                                                                                                        Execution Version

                                                                                                                        CONFIDENTIAL

                                              ROLLOVER AND VOTING AGREEMENT

       THIS ROLLOVER AND VOTING AGREEMENT (hereinafter referred to as this “Agreement”) is made and entered into as of
  October 22, 2017 by and between Osteon Holdings, L.P., a Delaware limited partnership (“Parent”), on the one hand, and the
  shareholders of the Company whose names are set forth on Exhibit A-1 hereto (the “Shareholders”), on the other hand.

        WHEREAS, concurrently with the execution of this Agreement, Exactech, Inc., a Florida corporation (the “Company”), Parent
  and Osteon Merger Sub, Inc., a Florida corporation and wholly owned indirect subsidiary of Parent (“Merger Sub”), have entered into
  an Agreement and Plan of Merger dated as of the date hereof (as amended, restated, supplemented or otherwise modified from time to
  time, the “Merger Agreement”), pursuant to which Merger Sub will be merged with and into the Company (the “Merger”), with the
  Company being the surviving entity of such Merger and a wholly owned direct or indirect subsidiary of Parent on the terms, and
  subject to the conditions, set forth in the Merger Agreement;

        WHEREAS, as of the date hereof, each Shareholder is the beneficial owner (for purposes of this Agreement, “beneficial owner”
  (including “beneficially own” and other correlative terms) shall have the meaning set forth in Rule 13d-3 promulgated under the
  Securities Exchange Act of 1934, as amended, and the rules and regulations promulgated thereunder (the “Exchange Act”)) of the
  number of (a) shares of Company Common Stock set forth opposite such Shareholder’s name on Schedule A-1 hereto (all such shares
  of Company Common Stock, together with any other equity securities of the Company, the power to dispose of or the voting power
  over which is acquired by any Shareholder during the period from and including the date hereof through and including the Expiration
  Date (including, but not limited to, any shares of Company Common Stock acquired upon exercise of any Company Stock Options and
  any Company Restricted Shares, in each case, that vest before or during such period), collectively, the “Subject Shares”) and (b) shares
  of Company Common Stock underlying the Company Stock Options set forth opposite such Shareholder’s name on Schedule A-1
  hereto (such Company Stock Options, together with any other Company Stock Options acquired by the Shareholder during the period
  from and including the date hereof through and including the Expiration Date, collectively, the “Subject Options”);

        WHEREAS, in connection with the consummation of the transactions contemplated by the Merger Agreement, each Shareholder
  set out in Schedule A-2 hereto (a “Rollover Investor”) desires to contribute the shares set forth opposite the name of such Shareholder
  on Schedule A-2 hereto (the “Rollover Shares”) to Parent in exchange for such number of newly issued equity interests of Parent (the
  “Parent Interests”) set forth opposite the name of such Shareholder on Schedule A-2 hereto;

        WHEREAS, the Shareholders are contributing their Rollover Shares to Parent in exchange for Parent Interests with the intent that
  such contribution transactions shall each be treated as a tax-free contribution under section 351 of the Code and, in connection with
  such intent, the Shareholders understand that Parent will be converted into a Delaware corporation (or a Delaware limited liability
  company that has elected to be treated as a corporation for U.S. federal income tax purposes with an effective date no later than the
  date of the Contribution Closing) prior to the Contribution Closing; and




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       WHEREAS, as a condition to and as an inducement to Parent’s willingness to enter into the Merger Agreement, the Shareholders
  have agreed to enter into this Agreement.

       NOW, THEREFORE, in consideration of the representations, warranties, covenants and agreements contained in this Agreement,
  and intending to be legally bound hereby, the parties hereto hereby agree as follows:

  SECTION 1. Certain Definitions. Capitalized terms used but not defined herein shall have the respective meanings ascribed to them in
  the Merger Agreement. For all purposes of and under this Agreement, the following terms shall have the following respective
  meanings:
       (a)   “Constructive Sale” shall mean, with respect to any Subject Shares or Subject Options, a short sale with respect to such
             Subject Shares or Subject Options, entering into or acquiring an offsetting derivative contract with respect to such Subject
             Shares or Subject Options, entering into or acquiring a future or forward contract to deliver such Subject Shares or Subject
             Options, or entering into any other hedging or other derivative transaction that has the effect of either directly or indirectly
             materially changing the economic benefits or risks of ownership of such Subject Shares or Subject Options.
       (b)   “Deemed Converted Shares” shall mean, with respect to any point in time, the amount of shares of Company Common
             Stock that would be acquired by a Shareholder if such Shareholder exercised his or her Subject Options at such time.
       (c)   “Expiration Date” shall mean the earliest to occur of (a) the Effective Time, (b) such date and time as the Merger Agreement
             shall be terminated pursuant to Article VIII of the Merger Agreement, and (c) the mutual written agreement of each of the
             parties hereto to terminate this Agreement.
       (d)   “Transfer” shall mean, with respect to any Subject Shares or Subject Options, the direct or indirect assignment, sale,
             transfer, tender, pledge, hypothecation, or the grant, creation or suffrage of a Lien upon, or the gift, placement in trust, or the
             Constructive Sale or other disposition of such Subject Shares or Subject Options (including transfers by testamentary or
             intestate succession or otherwise by operation of Law) or any right, title or interest therein (including any right or power to
             vote to which the holder thereof may be entitled, whether such right or power is granted by proxy or otherwise), or any
             change in the record or beneficial ownership of such Subject Shares or Subject Options (other than pursuant to this
             Agreement), and any agreement, arrangement or understanding, whether or not in writing, to effect any of the foregoing.


  SECTION 2. Transfer of Shares.
       (a)   Transfer of Shares. Each Shareholder hereby agrees that, except as set forth in, and pursuant to, Section 4 of this Agreement,
             at all times during the period commencing on the date hereof until the Expiration Date, such Shareholder shall not cause or
             permit any Transfer of any of such Shareholder’s Subject Shares or Subject Options or discuss, negotiate or make an offer or
             enter into an agreement, commitment or other arrangement regarding any Transfer of any of such Subject Shares or Subject
             Options.

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       (b)   Transfer of Voting Rights. Except as otherwise permitted by this Agreement, each Shareholder hereby agrees that, at all
             times commencing on the date hereof until the Expiration Date, such Shareholder shall not deposit, or permit the deposit of,
             any of such Shareholder’s Subject Shares or Subject Options in a voting trust, grant any proxy or power of attorney in
             respect of such Shareholder’s Subject Shares or Subject Options, or enter into any voting agreement or similar arrangement,
             commitment or understanding with respect to such Shareholder’s Subject Shares or Deemed Converted Shares in violation
             of this Agreement.


  SECTION 3. Agreement to Vote Subject Shares.
       (a)   Until the Expiration Date, and except in the circumstance where an Adverse Recommendation Change shall have occurred
             and be continuing, at every meeting of shareholders of the Company called with respect to any of the following, and at every
             adjournment or postponement thereof, and on every action or approval by written consent of shareholders of the Company
             with respect to any of the following, each Shareholder agrees that it shall, or shall cause its nominee holder of record on any
             applicable record date to, vote the Subject Shares that such Shareholder is eligible to vote, and deliver a written consent in
             respect of such Shareholder’s Subject Shares, at any applicable general or special meeting of the shareholders of the
             Company:
             (i)    in favor of (y) adoption of the Merger Agreement and approval of the Merger, and (z) each of the actions
                    contemplated by the Merger Agreement in respect of which approval of the Company’s shareholders is requested; and
             (ii)   against (y) any proposal or action submitted to the Company’s shareholders for their consideration and vote that
                    would constitute, or could reasonably be expected to result in, a breach of any covenant, representation or warranty or
                    any other obligation or agreement of the Company under the Merger Agreement or of the Shareholder under this
                    Agreement or otherwise reasonably would be expected to impede, interfere with, delay, postpone, discourage or
                    adversely affect the Merger or any of the other transactions contemplated by the Merger Agreement, and (z) any
                    Alternative Proposal or any proposal relating to an Alternative Proposal;
       (b)   If a Shareholder fails to vote his, her or its Subject Shares in accordance with Section 3(a) prior to five Business Days before
             a shareholder meeting or any other vote taken of the Company’s stockholders (such event a “Proxy Trigger”), then such
             Shareholder hereby appoints Parent and any designee of Parent, and each of them individually, as his, her or its proxies and
             attorneys-in-fact, with full power of substitution and resubstitution, to vote or act by written consent (as applicable) with
             respect to the Subject Shares in accordance with Section 3(a) at such meeting

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             or vote. This springing proxy and power of attorney is given to secure the performance of the duties of such Shareholder
             under this Agreement. Such Shareholder shall take such further action or execute such other instruments as may be
             necessary to effectuate the intent of this proxy. The proxy and power of attorney granted by such Shareholder shall be
             irrevocable after the Proxy Trigger, shall be deemed to be coupled with an interest sufficient in law to support an irrevocable
             proxy and shall revoke any and all prior proxies granted by such Shareholder with respect to the Subject Shares. Such
             springing proxy shall be executed and shall be irrevocable upon a Proxy Trigger in accordance with the provisions of
             Section 607.0722 of the FBCA. If a power of attorney is granted by such Shareholder herein, it will be a durable power of
             attorney and shall survive the dissolution, bankruptcy, death or incapacity of Shareholder. The springing proxy and power of
             attorney granted hereunder shall terminate upon the Expiration Date. Upon a Proxy Trigger, the vote of Parent (or its
             designee) as proxyholder shall control in any conflict between the vote by such proxyholder of such Shareholder’s Subject
             Shares and a purported vote by such Shareholder of such Subject Shares.
       (c)   Prior to the Expiration Date, each Shareholder covenants not to enter into any understanding or agreement with any person
             to vote or give instructions with respect to such Shareholder’s Subject Shares in any manner inconsistent with this Section 3.
       (d)   Until the Expiration Date, in the event that any meeting of the shareholders of the Company is held with respect to any of
             the matters specified in Section 3(a)(i) or Section 3(a)(ii) above (and at every adjournment or postponement thereof), each
             Shareholder covenants that it shall, or shall cause the holder of record of such Shareholder’s Subject Shares on each record
             date relevant to such a shareholder vote with respect to such specified matters to, appear at such meeting or otherwise cause
             such Shareholder’s Subject Shares that are eligible to be voted at such shareholder meeting to be counted as present thereat
             for purposes of establishing a quorum.
       (e)   This Agreement is a “shareholders’ agreement” created under Section 607.0731 of the FBCA, and the voting provisions in
             this Agreement may be specifically enforced by any party hereto pursuant to Section 607.0731 of the FBCA.


  SECTION 4.     Contribution and Rollover of Shares.
       (a)   Contribution of Shares. Subject to the conditions set forth herein, at the Contribution Closing (as defined below), each
             Rollover Investor shall contribute, assign, transfer and deliver to Parent the Rollover Shares held by him, her or it in the
             amount set forth opposite such Rollover Investor’s name on Schedule A-2 hereto, free and clear of any Lien. Other than the
             Rollover Shares, all other Subject Shares and Subject Options owned by each Rollover Investor shall be treated at the
             Effective Time and upon consummation of the Merger as set forth in the Merger Agreement and shall not be affected by the
             provisions of this Agreement. The parties agree that the contribution of such Rollover Shares to Parent is intended to

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             be treated as a tax-free contribution under section 351 of the Code. None of the Parent or the Shareholders, or any of their
             respective Affiliates, will take any Tax reporting position or any position in any Tax audit that is inconsistent with such
             intended tax treatment of the contribution transaction except upon a contrary final determination by an applicable Taxing
             authority.
       (b)   Issuance of Parent Interests. As consideration for the contribution, assignment, transfer and delivery of the Rollover Shares
             to Parent pursuant to Section 4(a), at the Contribution Closing (as defined below), Parent shall issue Parent Interests in the
             name of each Rollover Investor (or, if designated by such Rollover Investor in writing, in the name of an Affiliate of such
             Rollover Investor) in the amount set forth opposite such Rollover Investor’s name on Schedule A-2. The Parent Interests
             shall be the only class and series of securities authorized or issuable by Parent in connection with the Merger and the
             transactions related thereto, other than securities which are junior in all respects to the Parent Interests, and the rights of the
             Rollover Investors in and with respect to Parent will be pari passu with all other owners of Parent, including the Fund (as
             defined in the Merger Agreement), except as expressly set forth in the Shareholders’ Agreement. Each Rollover Investor
             hereby acknowledges and agrees that (i) delivery of such Parent Interests shall constitute complete satisfaction of all
             obligations towards or sums due to such Rollover Investor by Parent with respect to the applicable Rollover Shares being
             contributed, assigned, transferred or delivered, and (ii) on receipt of such Parent Interests, such Rollover Investor shall have
             no right to any Merger Consideration with respect to the Rollover Shares contributed to Parent by such Rollover Investor.
       (c)   Parent Shareholders’ Agreement. At the Contribution Closing (as defined below), each Rollover Investor will become party
             to a Shareholders’ Agreement of Parent containing the terms, amongst others, set forth on Schedule A-3 hereto, which
             Shareholders’ Agreement shall be acceptable to such Rollover Investor (acting reasonably and in good faith).
       (d)   Closing. The closing of the contribution and exchange contemplated hereby (the “Contribution Closing”) shall take place
             immediately prior to the Closing.
       (e)   Deposit of Rollover Shares. No later than five (5) Business Days prior to the date of the Contribution Closing, the Rollover
             Investors and any agent of such Rollover Investors holding certificates evidencing any Rollover Shares shall deliver or cause
             to be delivered to Parent all certificates representing Rollover Shares as set forth on Schedule A-2 hereto in such Persons’
             possession, (i) duly endorsed for transfer or (ii) with executed stock powers, both reasonably acceptable in form to Parent
             and sufficient to transfer such shares to Parent, for disposition in accordance with the terms of this Agreement (the “Share
             Documents”). The Share Documents shall be held by Parent or any agent authorized by Parent in trust for the benefit of the
             Rollover Investors until the Contribution Closing.

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       (f)   Irrevocable Election. The execution of this Agreement by the Rollover Investors evidences, subject to Section 11, (i) the
             irrevocable election and agreement by the Rollover Investors to contribute their respective Rollover Shares as set forth in
             Schedule A-2 hereto in exchange for Parent Interests at the Contribution Closing on the terms and conditions set forth herein
             and (ii) the irrevocable agreement by Parent to issue the Parent Interests to the Rollover Investors as set forth on
             Schedule A-2.


  SECTION 5. No Ownership Interest; No Inconsistent Actions.
       (a)   Nothing contained in this Agreement shall be deemed to, prior to the contribution contemplated by Section 4(a), vest in
             Parent any direct or indirect ownership or incidence of ownership of, or with respect to, any Subject Shares. All rights,
             ownership and economic benefits of and relating to the Subject Shares shall remain vested in and belong to the
             Shareholders, and this Agreement shall not confer any right, power or authority upon Parent or any other Person (a) to direct
             any Shareholder in the voting of any of the Subject Shares, except as otherwise specifically provided herein, or (b) in the
             performance of any Shareholder’s duties or responsibilities as shareholders or officers or directors, as the case may be, of
             the Company.
       (b)   Each Shareholder shall not, and shall cause its Affiliates (which for the avoidance of doubt, does not include the Company)
             not to, (i) form a “group” (within the meaning of Regulation 13D under the Exchange Act) with any third party (meaning,
             for this purpose, any Person other than Parent, Merger Sub, the Company, the other Shareholders or any other shareholder of
             the Company who has executed a voting and/or rollover agreement with Parent or any of its Affiliates relating to the Merger
             Agreement and the transactions contemplated thereby) concerning the Company or its securities, or the Merger Agreement
             or the transactions contemplated thereby, (ii) make or in any way participate in any “solicitation” of “proxies” (as such terms
             are used in the rules of the Securities and Exchange Commission) to vote any voting securities of the Company, or make or
             propose any shareholder proposal under Rule 14a-8 under the Exchange Act with respect to the Company, or seek to call any
             special meeting of the shareholders of the Company, (iii) make any Alternative Proposal or any other proposal for an
             extraordinary transaction involving the Company (including a dividend, distribution, self-tender, stock buy back, spin-off or
             split-off) or (iv) issue on such Shareholder’s own behalf any press release or make any other public statement with respect to
             the Company, Parent, Merger Sub, any Parent Related Party, the Merger Agreement, any other agreement entered into in
             connection with the Merger Agreement, the Merger or any other transaction contemplated by the Merger Agreement or the
             other agreements entered into in connection with the Merger Agreement, without the prior consent of Parent, except in the
             case of this clause (v) as may be required by applicable Law.

  SECTION 6. No Solicitation. Each Shareholder hereby represents and warrants that such Shareholder has read Section 5.04 of the
  Merger Agreement. In addition, such Shareholder, subject to Section 10 of this Agreement, agrees not to, directly or indirectly, take any
  action that would violate Section 5.04 of the Merger Agreement if such

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  Shareholder were deemed a “Representative” of the Company for purposes of such Section 5.04 of the Merger Agreement; provided
  that a Shareholder who is a director or officer of the Company shall not be in breach of this Section 6 or any other provision of this
  Agreement for taking any action in such Shareholder’s capacity as a director or officer of the Company that such Shareholder
  reasonably believes is necessary in the performance by such Shareholder of its fiduciary duties in his or her capacity as a director of
  officer of the Company.


  SECTION 7. Representations, Warranties and Other Agreements of Shareholders. Each Shareholder hereby represents and warrants to
  Parent, severally and not jointly, and solely as to itself and its Subject Shares, as follows:
       (a)   (i) such Shareholder is the beneficial owner of, and has good, valid and marketable title to, the Subject Shares and Subject
             Options set forth opposite its name on Schedule A-1, (ii) such Shareholder or its Affiliates has sole voting power, and sole
             power of disposition, in each case either individually or through such Shareholder’s representatives, with respect to all of its
             Subject Shares, (iii) the Subject Shares and Subject Options owned by such Shareholder are all of the equity securities of the
             Company owned, either of record or beneficially, by such Shareholder as of the date hereof (other than equity securities of
             the Company held in family trusts), (iv) the Subject Shares owned by such Shareholder are free and clear of all Liens, other
             than Permitted Liens, any Liens created by this Agreement, the underlying agreements pursuant to which such shares were
             issued (if any) or as imposed by applicable securities Laws and (v) such Shareholder has not appointed or granted any proxy
             inconsistent with this Agreement, which appointment or grant is still effective, with respect to the Subject Shares;
       (b)   such Shareholder has full power and authority to make, enter into and carry out the terms of this Agreement applicable to
             such Shareholder;
       (c)   such Shareholder agrees not to bring, commence, institute, maintain, prosecute, participate in or voluntarily aid any action,
             claim, suit or cause of action, in law or in equity, in any court or before any Governmental Entity, which alleges that (i) the
             execution and delivery of this Agreement by such Shareholder and the granting of any proxies to be delivered in connection
             with the execution of the Merger Agreement are invalid, or (ii) the approval of the Merger Agreement by the Company
             Board breaches any fiduciary duty of the Company Board or any member thereof;
       (d)   the execution and delivery of this Agreement by such Shareholder does not, and the performance of this Agreement by such
             Shareholder will not, result in a violation or breach of, or constitute (with or without due notice or lapse of time or both) a
             default (or give rise to any right of termination, cancellation, modification or acceleration) (whether after the giving of
             notice of or the passage of time or both) under any applicable Law or any contract to which such Shareholder is a party or
             which is binding on such Shareholder or such Shareholder’s Subject Shares or Subject Options, and will not result in the
             creation of any Lien on any of such Shareholder’s Subject Shares or Subject Options;

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       (e)   this Agreement has been duly executed by such Shareholder and constitutes the valid and legally binding obligation of such
             Shareholder, enforceable against such Shareholder in accordance with its terms, except that such enforceability (i) may be
             limited by bankruptcy, insolvency, fraudulent transfer, reorganization, moratorium and other similar laws of general
             application affecting or relating to the enforcement of creditors’ rights generally and (ii) is subject to general principles of
             equity, whether considered in a proceeding at law or in equity;
       (f)   the execution and delivery of this Agreement by such Shareholder does not, and the performance of this Agreement by such
             Shareholder will not, require any consent, approval, authorization or permit of, or filing with or notification to, any
             Governmental Entity by such Shareholder, (i) except for any applicable requirements, if any, of the Exchange Act, and
             (ii) except where the failure to obtain such consents, approvals, authorizations or permits, or to make such filings or
             notifications, would not prevent or delay the performance by such Shareholder of such Shareholder’s obligations under this
             Agreement in any material respect;
       (g)   such Shareholder understands and acknowledges that Parent is entering into the Merger Agreement in reliance upon such
             Shareholder’s execution and delivery of this Agreement and the representations, warranties, covenants and agreements of
             such Shareholder contained herein;
       (h)   there is no civil, criminal or administrative suit, action, proceeding, arbitration, investigation, review or inquiry pending or,
             to such Shareholder’s knowledge, threatened against or affecting the Shareholder or any of its Subject Shares or Subject
             Options or such Shareholder’s ability to perform its obligations under this Agreement or the Merger Agreement, nor is there
             any judgment, decree, injunction, rule or order of any Governmental Entity or arbitrator outstanding against the Shareholder
             or any of its Subject Shares or Subject Options and affecting such Shareholder’s ability to perform its obligations under this
             Agreement or the Merger Agreement; and


       (i)   each Rollover Investor:
             (i)    is acquiring the Parent Interests for investment for his, her or its own account and not with a view to, or for sale in
                    connection with, any distribution thereof;
             (ii)   either alone or together with his, her or its advisors, has sufficient knowledge and experience in financial and business
                    matters so as to be capable of evaluating the merits and risks of his, her or its investment in the Parent Interests and is
                    capable, without impairing such Rollover Investor’s financial condition, of bearing the economic risks of such
                    investment, including the risk of the complete loss thereof, for an indefinite period of time;

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             (iii)   either alone or together with his, her or its advisors, has been given the opportunity to examine all documents and to
                     ask such questions as he, she or it has deemed necessary of, and to receive answers from, Parent and its
                     representatives concerning the terms and conditions of the investment in the Parent Interests, the merits and risks of
                     owning the Parent Interests and related matters and to obtain all additional information which such Rollover Investor
                     and his, her or its advisors deem necessary;
             (iv)    has been advised to discuss with his, her or its own counsel the meaning and legal consequences of such Rollover
                     Investor’s representations and warranties in this Agreement and the transactions contemplated hereby;
             (v)     has relied only on his, her or its own tax advisor and not Parent, the other Stockholders, the Company or any of their
                     respective advisors, with respect to United States federal, state, local, foreign and other tax consequences arising from
                     such Rollover Investor’s acquisition, ownership and disposition of the Parent Interests;
             (vi)    understands and acknowledges that the Parent Interests acquired hereunder are a speculative investment which
                     involves a high degree of risk of loss of the entire investment therein;
             (vii) understands and acknowledges that the issuance of the Parent Interests will not have been registered under the
                   Securities Act or any other applicable securities laws (including such Laws of jurisdictions other than the United
                   States), and, therefore, after issuance such Parent Interests cannot be sold except in compliance with the Securities
                   Act, such other applicable securities or “blue sky” laws and that, accordingly, it may not be possible for such Rollover
                   Investor to sell the Parent Interests in case of emergency or otherwise; and
             (viii) is an “accredited investor,” as that term is defined in Regulation D under the Securities Act, with such knowledge and
                    experience in financial and business matters as are necessary in order to evaluate the merits and risks of an
                    investment in the Parent Interests.


  SECTION 8. Representations and Warranties of Parent. Parent hereby represents and warrants to the Shareholders as follows:
       (a)   Parent (i) has been duly organized, is validly existing and is in good standing under the laws of the jurisdiction of its
             formation; (ii) has the requisite organizational power and authority to own, lease and operate its properties and to carry on
             its business as now being conducted (or otherwise contemplated); and (iii) is duly qualified to transact business in all
             jurisdictions where it is required to be so qualified, except where the lack of such qualification, individually or in the
             aggregate, would not be material.

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       (b)   Parent has the full power and authority to execute, deliver and perform this Agreement and to issue the Parent Interests
             hereunder, and the issuance of the Parent Interests and Parent’s execution, delivery and performance of this Agreement has
             been authorized by all necessary action on its behalf, and this Agreement is its legal, valid and binding obligation,
             enforceable against it in accordance with this Agreement’s terms, except as such enforceability may be limited by
             bankruptcy, insolvency, reorganization, moratorium or similar laws affecting the enforcement of creditors’ rights in general
             and subject to general principles of equity;
       (c)   The execution and delivery of this Agreement by Parent does not, and the performance of this Agreement by Parent will not,
             result in a violation or breach of, or constitute (with or without due notice or lapse of time or both) a default (or give rise to
             any right of termination, cancellation, modification or acceleration) (whether after the giving of notice of or the passage of
             time or both) under any applicable Law, Parent’s governing documents, or any contract to which Parent is a party or which
             is binding on Parent;
       (d)   The execution and delivery of this Agreement by Parent does not, and the performance of this Agreement by Parent will not,
             require any consent, approval, authorization or permit of, or filing with or notification to, any Governmental Entity by
             Parent (other than in connection with the conversion of Parent to a corporation, if applicable, in accordance with
             Section 8(h) below of this Agreement or any filings with the SEC or as otherwise noted in the Merger Agreement);
       (e)   The Parent Interests, when issued pursuant to the terms of this Agreement, will be duly authorized, validly issued and
             outstanding, fully paid, nonassessable and free and clear of all Liens, other than as applicable to the Parent Interests or the
             holders thereof under applicable federal and state securities Laws; and
       (f)   The Rollover Investors will acquire Parent Interests pursuant to this Agreement for the same price per Parent Interest as the
             Fund is acquiring its equity interests of Parent in connection with the Merger (valuing the Rollover Shares based on the
             Merger Consideration), and other than such equity interests, the Fund and its Affiliates will not directly or indirectly own
             any equity or debt securities (or rights, options or warrants to purchase any such equity or debt securities) of Parent or its
             Affiliates, including the Company, at Closing or otherwise in connection with the Merger.
       (g)   Parent was formed solely for purposes of consummating and facilitating the Merger and future indirect ownership,
             expansion and management of the Company and its business.

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       (h)   The transactions set forth in Section 4 as well as the capitalization by the Fund of Parent will be undertaken pursuant to the
             same plan, with the intent that the contribution of such Rollover Shares to Parent is intended to be treated as a tax-free
             contribution under section 351 of the Code.
       (i)   Parent will be converted into a Delaware corporation (or a Delaware limited liability company that has elected to be treated
             as a corporation for U.S. federal tax purposes with an effective date no later than the date of the Contribution Closing) prior
             to both the capitalization by the Fund of Parent and the Contribution Closing.
       (j)   From the date of its status as a corporation for U.S. federal tax purposes (i.e. the date that Parent converts under local law to
             be a corporation or the effective date of an election by Parent to be treated as a corporation for U.S. federal tax purposes)
             and through the date of the Contribution Closing, Parent has and will have only one class of common voting equity interests
             issued and outstanding and will have no other class of voting or nonvoting equity interests outstanding. Parent does not
             have, and will not have as of the date of the Contribution Closing, any plan or intent to issue any equity interest in Parent
             that would reasonably be expected to result in the contribution of the Rollover Shares by the Rollover Investor to Parent as a
             transaction that is not a tax-free contribution under Section 351 of the Code. Immediately following the capitalization by the
             Fund of Parent and the transactions set forth in Section 4, Fund and the Rollover Investors collectively will own at least 80%
             of each class of issued and outstanding equity interests in Parent.

  SECTION 9. Consent. Each Shareholder on behalf of itself only consents to and authorizes the Company, Parent and their respective
  Affiliates (and Parent authorizes the Company and its Affiliates) to (a) publish and disclose in the Proxy Statement, Schedule 13E-3,
  any current report of the Company on Form 8-K and any other documents required to be filed with the SEC or any regulatory authority
  in connection with the Merger Agreement, such Shareholder’s identity and ownership of Subject Shares and Subject Options and the
  nature of such Shareholder’s commitments, arrangements and understandings under this Agreement and (b) file this Agreement as an
  exhibit to the extent required to be filed with the SEC or any regulatory authority relating to the Merger.

  SECTION 10. Shareholder Capacity. Subject to any obligations of such Shareholder under Section 3 or Section 4 hereof, to the extent
  that any Shareholder is an officer or director of the Company or any Company Subsidiaries, nothing in this Agreement shall be
  construed as preventing, limiting or otherwise affecting any actions taken or not taken by such Shareholder in its capacity as an officer
  or director of the Company or any Company Subsidiaries or from fulfilling the duties and obligations of such office (including the
  performance of obligations required by the fiduciary duties of such Shareholder acting in its capacity as an officer or director), and
  none of such actions (or determinations not to take any action) in such other capacities shall in and of itself be deemed to constitute a
  breach of this Agreement.

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  SECTION 11. Termination. Notwithstanding anything to the contrary provided herein, this Agreement and any undertaking or waiver
  granted by each Shareholder hereunder automatically shall terminate and be of no further force or effect as of the Expiration Date;
  provided, however, (a) Section 15 shall survive any termination or expiration of this Agreement, (b) any such termination shall not
  relieve any party from liability for any willful breach of its obligations hereunder prior to such termination, and (c) each party will be
  entitled to any remedies at law or in equity to recover its losses arising from any such pre-termination breach.

  SECTION 12. Appraisal Rights. To the extent permitted by applicable law, the Shareholder (i) irrevocably waives and agrees not to
  exercise any rights (including, without limitation, under Sections 607.1301 to 607.1333 of the FBCA) to demand appraisal of any of
  the Subject Shares or rights to dissent from the Merger that the Shareholder may have and (ii) agrees not to commence or participate in,
  and will take all actions necessary to opt out of, any class in any class action with respect to, any claim, derivative or otherwise, against
  Parent, Merger Sub, any Parent Related Party, the Company or any of their respective successors relating to the negotiation, execution
  or delivery of this Agreement or the Merger Agreement or the consummation of the Merger, including any claim (x) challenging the
  validity of, seeking to enjoin the operation of, any provision of this Agreement or (y) alleging a breach of any fiduciary duty of the
  Company Board in connection with the Merger Agreement or the transactions contemplated thereby; provided, that the foregoing
  covenants shall not be deemed a consent to or waiver of any rights of the Shareholder for any breach of this Agreement by Parent or its
  Affiliates.

  SECTION 13. Termination of Shareholders’ Agreement. The Shareholders set forth on Schedule A-4 hereto (the “Family
  Shareholders”) acknowledge that (i) they are parties to the Shareholders Agreement of the Company, dated as of November 30, 1992,
  as amended from time to time (the “Shareholders Agreement”), (ii) the Closing is an “event that reduces the number of Shareholders to
  one” as described in Section 17(b) of the Shareholders Agreement, (iii) the Shareholders Agreement shall terminate and be of no
  further force and effect as of the Closing and (iv) the Family Shareholders hereby waive any rights they may have pursuant to the
  Shareholders Agreement, including pursuant to Sections 2, 3, 6, 7, 10 or 18 thereof that relate to the Merger or the transactions
  contemplated by the Merger Agreement or this Agreement.


  SECTION 14. Further Assurances.
       (a)   Each of the parties hereto shall execute and deliver any additional certificate, instruments and other documents, and take any
             additional actions, as any other party reasonably may deem necessary or appropriate to carry out and effectuate the purpose
             and intent of this Agreement. Without limiting the generality of the foregoing, (i) each Rollover Investor agrees, upon the
             request of Parent, to make a pledge of, or provide Parent with any other security interest in, such Rollover Investor’s
             Rollover Shares to secure the obligations of such Rollover Investor under this Agreement and (ii) each Family Shareholder
             agrees to execute and deliver any additional documents and take any additional actions as are required to terminate the
             Shareholders Agreement.

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       (b)   Each Shareholder agrees, while this Agreement is in effect, to notify Parent promptly in writing of the number and
             description of any Company Common Stock or Company Stock Options acquired by such Shareholder after the date hereof
             which are not set forth on Schedule A-1 hereto, and that such subsequently acquired Company Common Stock or Company
             Stock Options shall be considered Subject Shares or Subject Options (as applicable).


  SECTION 15. Miscellaneous.
       (a)   Expenses. All costs and expenses incurred in connection with this Agreement shall be paid by the party incurring such cost
             or expense.
       (b)   Waiver. Except as provided in this Agreement, no action taken pursuant to this Agreement, including, without limitation, any
             investigation by or on behalf of any party, shall be deemed to constitute a waiver by the party taking such action of any other
             party’s obligations to comply with its representations, warranties, covenants and agreements contained in this Agreement.
             The waiver by any party hereto of a breach of any provision hereunder (or any delay in asserting any such breach) shall not
             operate or be construed as a waiver of any prior or subsequent breach of the same or any other provision hereunder or in any
             other context.
       (c)   Severability. If any provision of this Agreement, or the application thereof to any Person or circumstance is to be held
             invalid or unenforceable, the remainder of this Agreement, and the application of such provision to other Persons or
             circumstances, shall not be affected thereby, and to such end, the provisions of this Agreement are agreed to be severable.
       (d)   Assignment; Benefit; No Third Party Beneficiaries. Except as expressly permitted by the terms hereof, no party may assign
             this Agreement or any of its rights, interests, or obligations hereunder without the prior written approval of each other party
             hereto, and any attempted assignment without such prior written approval shall be void; provided, however, that any
             assignment of this Agreement to an Affiliate of Parent to whom the Merger Agreement is assigned in accordance with
             Section 9.11 of the Merger Agreement shall not require the consent of any Shareholder. Subject to the preceding sentence,
             this Agreement shall be binding upon and shall inure to the benefit of the parties hereto and their respective successors and
             permitted assigns including, without limitation, the Delaware corporation that Parent will convert into prior to the
             Contribution Closing. This Agreement is not intended to, and shall not be deemed to, confer on any Person other than the
             parties hereto or their respective heirs, successors, executors, administrators and permitted assigns any rights, remedies,
             obligations or liabilities under or by reason of this Agreement, or to create any agreement of employment with any person or
             otherwise create any third party beneficiary hereto.
       (e)   Amendments. This Agreement may not be modified, amended, altered or supplemented, except upon the execution and
             delivery of a written agreement executed by each of the parties hereto.

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       (f)   Specific Performance; Injunctive Relief. The parties agree that irreparable damage would occur to Parent in the event that
             any provision of this Agreement were not performed by each Shareholder in accordance with the specific terms hereof, and
             that Parent shall be entitled to seek an injunction, specific performance and other equitable relief to prevent breaches of this
             Agreement and to enforce specifically the terms and provisions hereof, this being in addition to any other remedy to which
             Parent is entitled at law or in equity. Each Shareholder agrees that it will not assert as a defense to the granting of an
             injunction, specific performance and other equitable relief to enforce the covenants and obligations contained herein that
             Parent has an adequate remedy at law or an award of specific performance is not an appropriate remedy for any reason at
             law or equity and Parent shall not be required to post a bond or other security in connection with any such order or
             injunction.
       (g)   Governing Law. This Agreement, including all matters of construction, validity and performance and any action or
             proceeding (whether in contract, tort, equity or otherwise) arising out of this Agreement or any of the transactions
             contemplated by this Agreement shall be governed by, and construed in accordance with, the laws of the State of Florida,
             regardless of the laws that might otherwise govern under any applicable principles of conflicts of laws of the State of
             Florida.
       (h)   Jurisdiction and Venue. Each of the parties hereto hereby (i) consents to submit itself to the personal jurisdiction of any state
             or federal court located within the State of Florida for the purpose of any suit, action or proceeding (whether, in contract,
             tort, equity or otherwise) relating to this Agreement or any of the transactions contemplated by this Agreement; (b) agrees
             that it will not attempt to deny or defeat such personal jurisdiction by motion or other request for leave from any such court;
             and (c) agrees that it will not bring any suit, action or proceeding relating to this Agreement or any of the transactions
             contemplated by this Agreement in any court other than the aforesaid courts.
       (i)   Waiver of Trial by Jury. EACH OF THE PARTIES HERETO HEREBY WAIVES, TO THE FULLEST EXTENT
             PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY
             SUIT, ACTION OR OTHER PROCEEDING ARISING OUT OF THIS AGREEMENT OR ANY OF THE
             TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT. EACH OF THE PARTIES HERETO (A) CERTIFIES
             THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY
             OR OTHERWISE, THAT SUCH PARTY WOULD NOT, IN THE EVENT OF ANY ACTION, SUIT OR PROCEEDING,
             SEEK TO ENFORCE THE FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES
             HERETO HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE
             MUTUAL WAIVER AND CERTIFICATIONS IN THIS SECTION 15(i).

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       (m) Interpretation. The headings contained in this Agreement are for reference purposes only and shall not affect in any way the
           meaning or interpretation of this Agreement. Whenever the words “include”, “includes” or “including” are used in this
           Agreement, they shall be deemed to be followed by the words “without limitation”. The words “hereof”, “herein” and
           “hereunder” and words of similar import when used in this Agreement shall refer to this Agreement as a whole and not to
           any particular provision of this Agreement. All terms defined in this Agreement shall have the defined meanings when used
           in any document made or delivered pursuant hereto unless otherwise defined therein. The definitions contained or
           incorporated by reference into this Agreement are applicable to the singular as well as the plural forms of such terms and to
           the masculine as well as to the feminine and neuter genders of such term. Any agreement, instrument or statute defined or
           referred to herein or in any agreement or instrument that is referred to herein means such agreement, instrument or statute as
           from time to time amended, modified or supplemented in accordance with its terms, including (in the case of agreements or
           instruments) by valid waiver or consent and (in the case of statutes) by succession of comparable successor statutes and
           references to all attachments thereto and instruments incorporated therein. References to a Person are also to its permitted
           assigns and successors. Section references to the Shareholders Agreement shall refer to the section numbering of the
           Shareholders Agreement prior to the May 1996 amendment thereto (for example, “Section 18” shall refer to the section that
           would have been numbered Section 18 prior to such amendment).

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       IN WITNESS WHEREOF, the undersigned have executed this Agreement as of the date first written above.

       OSTEON HOLDINGS, L.P.

       By:    /s/ Michael LaGatta
       Name: Michael LaGatta
       Title: Vice President

                                            [Signature Page to Rollover and Voting Agreement]




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  SHAREHOLDERS

  /s/ William Petty
  William Petty, M.D.

  /s/ Betty Petty
  Betty Petty

  /s/ David W. Petty
  David W. Petty

  PRIMA INVESTMENTS, LIMITED PARTNERSHIP

  By:    /s/ William Petty
  Name: William Petty
  Title: President Prima Investments, Inc.
         General Partner

                                             [Signature Page to Rollover and Voting Agreement]




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                                                               Schedule A-1

                                                               Shareholders

             Name                                              Subject Shares   Subject Options      Address
             William Petty, M.D.                                   102,400            297,217
             Betty Petty                                            75,400             33,900
             David W. Petty                                         65,622            104,150
             Prima Investments, Limited Partnership              3,080,271
             TOTAL                                               3,323,693            435,267




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                                                                Schedule A-2

                                                             Rollover Investors

                  Name                                                                      Rollover Shares      Parent Interests
                  William Petty, M.D.                                                       *See below.          ^See below.
                  Betty Petty                                                               *See below.          ^See below.
                  David W. Petty                                                            *See below.          ^See below.
                  Prima Investments, Limited Partnership                                    *See below.          ^See below.
                  TOTAL

  * To be a number of Shares equivalent in value to an amount confirmed by the Rollover Investor in writing prior to the mailing of the
    Proxy Statement (as defined in the Merger Agreement) between an aggregate amount of $50,000,000 and $140,000,000; provided
    that the aggregate rollover investments made by equityholders of the Company, which amount and allocations will be determined by
    the Rollover Investor, may not exceed $140,000,000.

  ^ To be a number of Parent Interests with a value equal to the value of the Rollover Shares (as specified in Section 8(f).




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                                                               Schedule A-3

                                                      Shareholders’ Agreement Terms

  Provision                                                                           Terms
  Tag-Along Rights                The Rollover Investors will have customary tag-along rights with respect to transfers by the Fund to
                                  prospective third party purchasers.
  Drag-Along Rights               The Fund will have customary rights to drag the Rollover Investors in transfers of the Fund’s equity
                                  interests in Parent to unaffiliated purchasers.
  Pre-Emptive Rights              The Rollover Investors will have customary pro rata pre-emptive rights with respect to new equity
                                  issuances, subject to customary exceptions.
  Amendments                      Majority consent of the Rollover Investors will be required for any amendment to the Shareholders’
                                  Agreement that has a material, adverse and disproportionate effect on the Rollover Investors relative to
                                  other Parent equityholders.
  Registration Rights             The Fund will have customary demand registration rights. The Rollover Investors will have customary
                                  piggyback registration rights and will be subject to customary lock-up arrangements.
  Transfer Restrictions           The Rollover Investors may not transfer their interests, other than pursuant to the tag-along or drag-
                                  along provisions, pursuant to customary estate planning provisions, or other customary permitted
                                  transfers.




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                                                               Schedule A-4

                                                            Family Shareholders

  William Petty, M.D.
  David Petty
  Betty Petty
  Prima Investments, Limited Partnership




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